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                    UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA


 NANCY GIMENA HUISHA-HUISHA, et
 al.,

                  Plaintiffs,

 v.                                     Civ. Action No. 21-100(EGS)


 ALEJANDRO MAYORKAS, in his
 official capacity as Secretary
 of Homeland Security, et al.,

                  Defendants.


                                  ORDER

      For the reasons stated in the accompanying Memorandum

Opinion, it is hereby

      ORDERED that Plaintiffs’ Motion for Partial Summary

Judgment, ECF No. 144, is GRANTED. The Court vacates and sets

aside the Title 42 policy—consisting of the regulation at 42

C.F.R. § 71.40 and all orders and decision memos issued by the

Centers for Disease Control and Prevention or the U.S.

Department of Health and Human Services suspending the right to

introduce certain persons into the United States; and declares

the Title 42 policy to be arbitrary and capricious in violation

of the Administrative Procedure Act and permanently enjoins

Defendants and their agents from applying the Title 42 policy

with respect to Plaintiff Class Members; and it is further


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     ORDERED that any request to stay this Order pending appeal

will be denied for the reasons stated in the accompanying

Memorandum Opinion.

     SO ORDERED.

Signed:   Emmet G. Sullivan
          United States District Judge
          November 15, 2022




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